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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

to
Tt

v. CASE NO. 3:24-cr- [$7- WWH-LO—
18 U.S.C. § 2251(a)
(Production of Child Pornography)

FREDERICK KARL HILDENBRAND

INDICTMENT

The Grand Jury charges:

COUNT ONE
(Production of Child Pornography)

On or about August 25, 2009, in the Middle District of Florida, the Northern

District of Ohio, and elsewhere, the defendant,
FREDERICK KARL HILDENBRAND,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, and the visual depiction was produced and transmitted using materials that
had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means and the visual depiction was actually transported and

transmitted in and affecting interstate and foreign commerce.

In violation of 18 U.S.C. § 2251(a) and (e).
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COUNT TWO
(Production of Child Pornography)

On or about November 17, 2012, in the Middle District of Florida, the Northern

District of Ohio, and elsewhere, the defendant,
FREDERICK KARL HILDENBRAND,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, and the visual depiction was produced and transmitted using materials that
had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means and the visual depiction was actually transported and
transmitted in and affecting interstate and foreign commerce.

In violation of 18 U.S.C. § 2251(a) and (e).

COUNT THREE
(Production of Child Pornography)

On or about July 29, 2021, in the Middle District of Florida, and elsewhere, the

defendant,
FREDERICK KARL HILDENBRAND,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, and the visual depiction was produced and transmitted using materials that
had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means.

In violation of 18 U.S.C. § 2251(a) and (e).
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COUNT FOUR
(Production of Child Pornography)

On or about May 25, 2022, in the Middle District of Florida, and elsewhere, the

defendant,
FREDERICK KARL HILDENBRAND,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, and the visual depiction was produced and transmitted using materials that
had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means.

In violation of 18 U.S.C. § 2251(a) and (e).

COUNT FIVE
(Production of Child Pornography)

On or about February 21, 2024, in the Middle District of Florida, and elsewhere,

the defendant,
FREDERICK KARL HILDENBRAND,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, and the visual depiction was produced and transmitted using materials that
had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means.

In violation of 18 U.S.C. § 2251(a) and (e).
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FORFEITURE

1, The allegations contained in Counts One through Five are incorporated
by reference for the purpose of alleging forfeiture pursuant to the provisions of 18
U.S.C. § 2253.

2. Upon conviction of a violation of 18 U.S.C. § 2251(a), the defendant shall
forfeit to the United States, pursuant to 18 U.S.C. § 2253:

a. Any visual depiction described in 18 U.S.C. §§ 2251, 2251A, or 2252,
2252A, 2252B, or 2260 of chapter 110 of Title 18, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual depiction, which was
produced, transported, mailed, shipped, or received in violation of chapter 110;

b. Any property, real or personal, constituting or traceable to gross profits
or other proceeds obtained from such offense; and

c. Any property, real or personal, used or intended to be used to commit or
to promote the commission of such offense or any property traceable to such property.

3 The property to be forfeited includes, but is not limited to, the
following:
a. SanDisk 32GB thumb drive seized from W.G. on or about May 15,
2024;
b. HP laptop seized from defendant’s residence on or about August 5,
2024;
c. REVVL 4+ cell phone seized from defendant’s residence on or about

August 5, 2024; and
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d. TCL cell phone seized from defendant’s vehicle on or about August
5, 2024.
4. If any of the property described above, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;
e. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

6. has been commingled with other property which cannot be

subdivided without difficulty;
the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b).

A TRUE BILL,

Forepers

By: /NZ/ AS )
/ ASHLEY WASHINGLON

Assistant United States Attorney

By: Het Hl _-

MICHAEL J. ZOOLICAN
Assistant Unyted States Attorney
Deputy Chjéf, Jacksonville Division

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FORM OBD-34
8/26/24 Revised No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA

VS.

FREDERICK KARL HILDENBRAND

INDICTMENT

Violations: 18 U.S.C. § 2251(a)

A true bill,

Foyeperson

Filed in open court this 23 day

of August, 2024.

Argeh|wehr

~ S Clerk

Bail $

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